
USCA1 Opinion

	




          March 25, 1994        [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ___________________          No. 93-1612                                             TIMOTHY B. MITCHELL,                                Plaintiff, Appellant,                                          v.                       SECRETARY OF HEALTH AND HUMAN SERVICES,                                 Defendant, Appellee.                                  __________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF MASSACHUSETTS                 [Hon. Frank H. Freedman, Senior U.S. District Judge]                                          __________________________                                 ___________________                                        Before                                 Breyer, Chief Judge,                                         ___________                            Selya and Cyr, Circuit Judges.                                           ______________                                 ___________________               Timothy B. Mitchell on brief pro se.               ___________________               A.  John  Pappalardo,  United  States  Attorney,   Karen  L.               ____________________                               _________          Goodwin,  Assistant   United  States  Attorney,  and   Robert  M.          _______                                                __________          Peckrill,  Assistant Regional  Counsel,  Department of  Health  &amp;          ________          Human Service, on brief for appellee.                                  __________________                                  __________________                      Per  Curiam.     Pro se  claimant Timothy  Mitchell                      ___________      ___ __            appeals a district court judgment that affirmed the denial of            his claim for Supplemental Security Income (SSI) benefits.  A            former competitive  bicyclist, claimant  applied  for SSI  in            June 1989, when he was 24 years old.  He claimed  that he was            disabled due  to chronic pain resulting  from musculoskeletal            inflammation affecting  most of his joints,  particularly his            wrists  and  hands.    Claimant  alleged  that his  pain  was            aggravated by repetitive motions  and hot weather.  In  1987,            claimant secured a bachelors degree in cultural  anthropology            from  the University of Massachusetts.  He held various part-            time  jobs during  and after  college, including  those of  a            dishwasher,  psychiatric  counsellor, prep  cook, psychiatric            aide, stock  person, bus person,  and salesperson.   His last            position  was  as  a  telephone  fundraiser,  which  required            frequent repetitive use of the hands in dialing and writing.                  After claimant's  application  was denied  upon  initial            review and reconsideration, claimant represented himself at a            hearing before an  administrative law judge  (ALJ).  The  ALJ            reviewed the conflicting medical evidence and determined that            claimant had no exertional limitations and only a "marginally                         __            severe somatoform  disorder."1  The ALJ  concluded that while                                            ____________________            1.  Somatoform  disorders  are  characterized  by,"[p]hysical            symptoms for which there are no demonstrable organic findings            or known physiological mechanisms."  See 20 C.F.R.  Part 404,                                                 ___            Subpart P, App. I,  12.07.  This listing may be satisfied if,            inter alia,  the medical evidence documents  either: (1) "[a]            _____ ____                                   ______                                         -2-            the latter condition  moderately impaired claimant's  ability            to maintain persistence and pace, thereby preventing him from            performing his  past work as  a telephone fundraiser,  it did            not prevent the claimant from performing his other past jobs.            Thus, the ALJ  denied claimant's application at  step four of            the  sequential  evaluation  process.     See  Goodermote  v.                                                      ___  __________            Secretary of Health and Human Services, 690 F. 2d 5, 6-7 (1st            ______________________________________            Cir. 1982).  The district court affirmed  this conclusion and            claimant  has  taken  a  timely appeal.    Having  thoroughly            reviewed the record, we also affirm for the reasons discussed            below.                                          I.                 We first review the medical and other evidence which  is            essential  to   a   complete  understanding   of   claimant's            allegations.    The record  discloses that  claimant bicycled            16,000 kilometers  (or 10,000 miles) in  various races during            the summer of 1983.  He began having health problems in 1984,            and consulted  Dr. Robert  Leach, an orthopedic  surgeon, for            pain behind his  left knee.   Claimant reported  that he  had            recently  had  surgery  on  his left  thigh  for  compartment                                            ____________________            history  of  multiple  physical  symptoms  of  several  years            duration,  beginning  before age  30,  that  have caused  the            individual to take medicine frequently, see a physician often            and alter life  patterns significantly; or" (2)  [p]ersistent            nonorganic  disturbance of ...  [s]ensation (e.g., diminished            or   heightened)"  or  (3)  [u]nrealistic  interpretation  of            physical   signs   or    sensations   associated   with   the            preoccupation or  belief that  one has a  serious disease  or            injury;...." Id.,  12.07(A).                          ___                                         -3-            syndrome  and  that  he  had  previously  consulted  numerous            doctors and chiropractors  for various other pains.2   He had            taken Indocin (an anti-inflammatory agent) and Butazolidan (a            rheumatoid arthritis treatment)  without relief and  had also            undergone  a myelogram.   Apart  from an  area of  tenderness            around claimant's  left knee semitendinosis  tendon, physical            exam was completely  normal and Dr. Leach "was impressed with            how  loose [claimant] was."   Dr.  Leach made no diagnosis or            recommendations.  He stated  that he did "not have  any ideas            as to where to go from here" in view of the extensive studies            claimant had already undergone.                  There  are no  medical records  from 1985,  during which            claimant  was apparently  enrolled in  college and  worked at            various  times  as a  prep  cook  and adolescent  psychiatric            counsellor.  In November 1986 claimant consulted Dr. Jonathan            Kurtis,  another orthopedic surgeon,  for bilateral  arm pain            associated with his job as a dishwasher.  Dr. Kurtis reported            that  his evaluation  was negative  for a severe  problem and            that "it was thought  that he had an  occupational tendonitis            of his  wrist."3   Claimant  graduated  from college  in  May                                            ____________________            2.  Compartment  syndrome is  "a  condition caused  by inward            pressure of an artery  reducing blood supply.  It  can result            in  a permanent contraction of  the hand or  foot." See Mosby                                                                ___ _____            Medical Encyclopedia, p. 182 (1985).              ____________________            3.  Claimant returned to Dr. Kurtis in  January 1987 for left            heel pain cause by his cross-country ski boots.  In reporting            these findings  to the Social  Security Administration (SSA),            Dr. Kurtis  emphasized that  he had  not seen claimant  since                                         -4-            1987.   While claimant's vocational report  does not identify            it,  the medical records suggest that at some point following            his graduation  claimant either  volunteered or worked  in an            administrative  position with the Institute for International            Development and Cooperation.                 In  September  1987   claimant  consulted  Dr.  Lawrence            Schiffman, a rheumatologist,  complaining of bilateral  wrist            pain  while he was working  as a dishwasher  and a carpenter.            He reported  a history of tendonitis in his shoulders, knees,            and elbows  (epicondylitis) while also  complaining of  groin            pain and  lower  back  pain,  although  the  latter  was  not            chronic.     Claimant  denied  morning  stiffness  and  sleep            problems.  Physical examination disclosed that claimant had a            full range of musculoskeletal motion, although he experienced            tenderness at the base of the thumb and Achilles tendon.  Dr.            Schiffman recorded an impression of tendonitis and prescribed            Feldene, an  arthritis medication.   Follow-up lab  tests for            rheumatoid  arthritis were  negative.4   Claimant  apparently            travelled to Africa at some point in 1988 and returned to Dr.            Schiffman in April with complaints of pain at the base of the            thumbs  and groin.   He  again denied  morning stiffness;  no                                            ____________________            1987 and had no diagnosis consistent with chronic disability.            4.  In January  1988, Dr. Schiffman advised  claimant that he            had been  unable  to  make  a diagnosis  of  systemic  tissue            connective disease (arthritis) based on his laboratory  tests            and physical examination.                                            -5-            swelling was present.   Apart  from the  areas of  tenderness            noted, physical exam was essentially normal.  Dr. Schiffman's            again recorded  an impression of tendonitis  and continued to            prescribe  medications.   Follow-up lab tests  for rheumatoid            arthritis, Lyme disease, and HIV were negative.                     At  some point  during 1988  claimant also  travelled to            Denmark.    There he  sought further evaluation  of his pain.            Claimant returned  to Dr. Schiffman in  July 1988 complaining            of  bilateral  wrist, groin,  and thigh  pain.   He  was then            taking Ibuprofen. Claimant reported that he  was able to swim            but  that this  resulted in  increased  pain.   Physical exam            disclosed  no  swelling nor  other  positive  findings.   Dr.            Schiffman advised  claimant to  stop swimming  and prescribed            ultrasound therapy for his wrists. Between July and September            1988 claimant underwent  weekly ultrasound treatments at  the            Easthampton   Physical   Therapy  Services.      He  reported            experiencing some  improvement from  the pain in  his wrists,            although he did not attribute it to the treatments.5  At  the            conclusion of  the treatments Dr. Schiffman referred claimant            to  Dr.   Allison  Ryan,   a  specialist  in   neurology  and            psychiatry, stating that he had "not been able to establish a                                            ____________________            5.  Claimant also consulted an occupational  therapist at the            Communication  Enhancement Clinic of  the Children's Hospital            in Boston, although he  was not referred there by  any health            care  providers identified  in the  record.   Claimant sought            computer  components to  eliminate  the need  for  repetitive            wrist motions.                                              -6-            diagnosis" although he  felt claimant's  symptoms were  "most            likely   due   to   an   overuse   syndrome,    worsened   by            deconditioning."6                   In November  1988 claimant  applied for services  at the            Massachusetts  Rehabilitation  Commission  (MRC).     Shortly            thereafter  he   began  working  part-time  as   a  telephone            fundraiser for  the Progressive  Group, Inc.   On January  4,            1989,  claimant  returned  to  Dr. Schiffman,  continuing  to            complain of "tendonitis" in  his wrists and knees.   Physical            exam  again disclosed no swelling and a full range of motion.            Claimant  denied morning stiffness and reportedly was walking            regularly (10-20  minutes).   On the following  day, claimant            was examined  by Dr. Charles Brummer, a  family physician who            evaluated  claimant  for  the  MRC.   Dr.  Brummer  recounted            claimant's extensive  history of complaints  and unsuccessful            treatments for pain in his legs, hips, shoulders, and elbows.            Despite   treatment   with  multiple   medications,  claimant            reported that  he experienced no  relief.  Physical  exam was            normal, with a  full range of  musculoskeletal motion and  no            swelling,  heat, or  redness, although  claimant subjectively            complained of  pain with motion  and palpation.   Dr. Brummer            concluded   that   claimant  suffers   from  a   soft  tissue                                            ____________________            6.  We  note  that  following  his hearing  before  the  ALJ,            claimant submitted a letter to the Appeals Council wherein he            alleged  that Dr.  Ryan concluded  that claimant  has chronic            pain syndrome and fibromyalgia, a condition discussed  infra.                                                                   _____            However, Dr. Ryan's records are not before us.                                         -7-            inflammatory  disease  such as  chronic tendonitis  or, "more            probably  a  fibromyositis  or  fibromyalgia  syndrome" which            often  respond poorly  to  medications.7   He suggested  that            claimant was not  capable of  work and advised  him to  avoid            significant lifting,  climbing, or repetitive motions.  Based            on  Dr.  Brummer's  evaluation,   in  January  1989  the  MRC            determined   that  claimant   was  eligible   for  vocational            rehabilitation   services   as    a   severely    handicapped            individual.8     Claimant   also  began   weekly  acupuncture            treatments   with   Jonathan   Klate,   Ph.D.,   a   licensed            acupuncturist.     Dr.  Klate  continued  to  treat  claimant            throughout the  time his  claim was  pending and  submitted a                                            ____________________            7.  Fibromyalgia is  pain  in the  fibrous tissues,  muscles,            tendons,  ligaments,  and  other  white  connective  tissues,            frequently  affecting  the  low  back,  neck,  shoulders  and            thighs.  See The  Merck Manual (16th ed. 1992),  pp. 1369-70.                     ___ _________________            As Dr.  Brummer's report  suggests, the term  fibromyalgia is            often used interchangeably with fibromyositis, or fibrositis.            See Lisa v. Dept. of Health and Human Services, 940 F.2d  40,            ___ ____    __________________________________            43  (2nd Cir. 1991).  This condition has only been recognized            over   the   last   several   years.     It   causes   severe            musculoskeletal  pain, stiffness  and  fatigue due  to  sleep            disturbances, although physical  examinations will  generally            be  normal. See  Preston  v. Secretary  of  Health and  Human                        ___  _______     ________________________________            Services, 854 F.2d  815, 818  (6th Cir. 1988).   The  disease            ________            cannot be confirmed by objective tests, rather, the diagnosis            is made  by exclusion  and the elicitation  of tenderness  at            certain "'focal tender points.'" Id.  Fibrositis patients may                                             ___            also have psychological disorders; the disease afflicts women            significantly more often than men. Id.                                                ___            8.  It  appears  that the  MRC  simply  assisted claimant  in            securing computer  software and  components that  would allow            him to pursue employment without exacerbating his condition.                                          -8-            report   to  the   SSA   which  opined   that  claimant   was            significantly disabled.                   Claimant  resigned  from  his  position  as  a telephone            fundraiser  around  June  29,  1989,  claiming  that  he  was            physically unable to meet the job's requirements due to wrist            and hand pain aggravated  by warmer weather.  He  applied for            SSI  benefits on  the same  day.   Claimant  was subsequently            examined by two internists  on behalf of the SSA,  Dr. Enrico            Petrillo and  Dr. Dwight Robinson.   Dr. Petrillo  reported a            normal  physical   exam  and  concluded   that  claimant  had            musculoskeletal symptoms  of burning and pain  in the muscles            and  tendons  bilaterally.    He did  not  assess  claimant's            residual functional capacity (RFC).   Dr. Robinson found that            claimant  exhibited 20  degree flexion  contractures of  both            elbows,  but  that   claimant's  joint  exam  was   otherwise            unremarkable.    In particular  he  noted that  there  was no            swelling or tenderness and no  muscle atrophy.  Dr.  Robinson            indicated that claimant might  have a variant of fibromyalgia            and that his  functional ability was  clearly limited by  his            symptoms,  although he  did not  assess  claimant's RFC.   He            advised  claimant  to  pursue  gradual  muscle  strengthening            exercises and possibly to try an antidepressant.9                                            ____________________            9.  Dr. Robinson also noted that claimant might have an early            form of  scleroderma, a  disease that would  not account  for            claimant's symptoms.                                          -9-                 Based on the  aforementioned medical  evidence, the  SSA            secured an  assessment of claimant's exertional  RFC from Dr.            Harvey Wald, a non-examining  consultant.  Dr. Wald concluded            that claimant  was limited to light work.   Consequently, the            SSA denied  claimant's initial application and claimant filed            a request  for reconsideration.   Claimant  consulted another            rheumatologist,  Dr.  Robert  Gray,   on  December  7,  1989.            Physical exam again disclosed that both elbows showed a 20-30            degree loss of full  extension, but flexion was full.   There            was  no  synovial  (joint)  swelling,  no  fibrositic trigger            points, and no evidence  of muscle atrophy or weakness.   Dr.            Gray concluded that claimant suffered from arthralgias (joint            pain) and myalgias (muscle pain) of undetermined etiology and            that his symptoms  were atypical of fibrositis  syndrome.  On            December  13,  1989,  claimant  was examined  by  Dr.  Jerome            Siegel,   another  consulting   internist.     Physical  exam            disclosed  that claimant  appeared  well, had  no history  of            sleep disturbance, and again exhibited a full range of motion            with  no synovial  thickening.   No trigger  point tenderness            areas  were palpated.   Shoulder  x-rays  and lab  tests were            normal.   Dr. Siegel  made a  differential diagnosis  of pain            disorder involving the joints with questionable fibromyalgia,            somatization  disorder, and chronic  pain disorder.   Neither            Dr. Gray nor Dr. Siegel assessed claimant's RFC.                                         -10-                 Finally, on January 24, 1990, claimant was evaluated for            the SSA by  Dr. Sanford Bloomberg, a psychiatrist.   Claimant            reported  that he  suffered from  a "painful  condition" that            affected  essentially all  of his  major joints  although his            complaints were  "completely subjective."   Although claimant            reported that his activities had become extremely constricted            as a result, he was then taking graduate courses and applying            to  graduate school at  the University of  Massachusetts.  He            was also the editor of his church newsletter and participated            in  a young adult group.   Despite being  able to shop, cook,            and  participate in  the aforementioned  activities, claimant            professed  that he was in  constant pain.   He denied trouble            sleeping.  Dr. Bloomberg stated that, "[t]he only diagnosis I            would  make would  be  a somatoform  pain  disorder, with  no            related organic pathology, which  so far, can be specifically            identified to  document  the diagnosis  that some  physicians            have  made  for  him,   fibrocytis  or  fibromyalgia."    Dr.            Bloomberg noted  that  where  one  local  expert  (presumably            referring to Dr.  Gray) had concluded  that claimant did  not            have fibrositis,  claimant's complaints of pain  were grossly            in   excess  of  what  one   would  expect  if   he  had  any            pathology.10   While Dr. Bloomberg did  not assess claimant's                                            ____________________            10.  Dr.  Bloomberg also  observed  that  claimant's  alleged            incapacity was  not objectively observable and  that claimant            presented as  "vigorous, full of energy,  walking and sitting            down and rising ... with no difficulty apparent."                                         -11-            RFC,  the SSA secured a mental RFC evaluation from Dr. Joseph            Lichtman,  a  psychologist.    Dr.  Lichtman  concluded  that            claimant suffered  from a somatization  disorder which  would            often result in  deficiencies of persistence,  concentration,            and pace resulting in a failure to complete tasks in a timely            manner.   However,  he  found that  claimant's activities  of            daily living and ability  to maintain social functioning were            only slightly limited, and  that claimant never suffered from            episodes of deterioration or  decompensation in work or work-            like settings.                   The ALJ credited  Dr. Lichtman's functional  findings in            concluding that  claimant was not disabled.   He specifically            found that  claimant does  not have a  medically determinable            physical  impairment that  could  reasonably  be expected  to            result  in  the  degree  of  pain  and  functional loss  that            claimant  has alleged.    The ALJ  then evaluated  claimant's            subjective  pain  complaints  in  accordance  with  Avery  v.                                                                _____            Secretary  of Health  and Human  Services, 797 F.2d  19, (1st            _________________________________________            Cir.   1986),  and   concluded  that   claimant's  subjective            allegations  were   not  credible   in  view   of  claimant's            activities as a graduate student  and church member, the fact            that there was no physical basis for claimant's pain, and the            fact that claimant  took no  medications at the  time of  the                                         -12-            hearing.11      The  ALJ   found  that   claimant's  residual            functional   capacity   was   not  significantly   restricted            exertionally and that his somatoform disorder only  prevented            him from  performing his past job as  a telephone fundraiser.            After the  hearing claimant  submitted additional letters  to            the  Appeals Council where he  recounted that he  had begun a            course  of treatment  with amitriptyline,  an anti-depressant            used  to  treat fibromyalgia.  The  Appeals  Council declined            review, thus rendering the ALJ's decision final.                                         II.                 We  are bound to affirm the Secretary if his decision is            supported by substantial  evidence on the record  as a whole.            See,  e.g.,  Rodriguez  v.  Secretary  of  Health  and  Human            ___   ____   _________      _________________________________            Services,  647 F.2d 218, 222  (1st Cir. 1981).   Any claimant            ________            seeking  disability  benefits  bears  the initial  burden  of            proving that  his condition prevents him  from performing his            former  type of   work, not just  that he cannot  return to a                    ____            particular job. See Gray  v. Heckler, 760 F.2d 369,  372 (1st                            ___ ____     _______            Cir. 1985).  And, as the Secretary's regulations provide that            even  part  time  work  may  constitute  substantial  gainful            activity, the fact that all of claimant's past positions were            part time jobs does not require a finding of disability.  See                                                                      ___            Davis v.  Secretary of  Health and  Human Services,  915 F.2d            _____     ________________________________________                                            ____________________            11.  Claimant  had  been  accepted  to  graduate  school  and            expected  to attend classes for two, eight-hour days per week            at the time of the hearing.                                         -13-            186, 189 (6th Cir.  1990); 20 C.F.R.  416.972(a)(work  may be            substantial even if it is done on a part time-basis).                  On appeal, claimant argues that the evidence establishes            that  he  meets  the  Somatoform  Disorder  Listing  ( 12.07)            because  he   has  repeatedly   suffered  from  episodes   of            deterioration or decompensation at  work, as evidenced by the            fact that he has withdrawn from several of his past jobs  due            to  wrist tendonitis.   Claimant also  contends that  the ALJ            should  have given more weight  to the reports  of his health            care providers  (e.g., Drs. Schiffman,  Brummer, and  Klate),            particularly  where  the  doctors  who   assessed  claimant's            residual  functional  capacity  did  not  even  examine  him.            Claimant  emphasizes that  he  is  unable  to use  his  upper            extremities and, since most  jobs entail this requirement, he            is  unable to perform his past jobs and any other substantial            gainful activity.    Each of these arguments must  fail given            our limited  standard of review and  the conflicting evidence            in the record.                  First,  while  it  is  true  that the  ALJ  found  that            claimant satisfied three of the paragraph A criteria required            to meet the Somatoform Disorder Listing, see n. 1, supra, the                                                     ___       _____            record amply supports the ALJ's conclusion that claimant does            not suffer  from the  degree of  functional loss  required to            meet  the  paragraph B  criteria of   12.07.   Thus,  even if            claimant resigned from  his job as a telephone fundraiser due                                         -14-            to  increased  pain, this  alone does  not establish  that he            experienced the  repeated  episodes of  deterioration in  the            work place required to  satisfy  12.07.  Moreover, claimant's            testimony  and  contact  with  the  SSA  supports  the  ALJ's            conclusion  that his  activities of  daily living  and social            functioning  were  not   significantly  impaired.    Claimant            resides with  seven  people,  is able  to  do  some  cooking,            cleaning, writing, and driving, in  addition to participating            in church activities and  attending graduate school while his            SSI  claim was pending.   Even with the restrictions claimant            has  identified, these activities  do not suggest  a level of            impairment consistent  with total disability.   Thus, the ALJ            did  not err in concluding that claimant failed to prove that            he satisfies the Somatoform Disorder Listing.                 With  respect  to claimant's  second  contention,  it is            well-established in this circuit that a  treating physician's            opinion may  be  rejected by  the Secretary,  who may  accord            greater weight to  his own  experts.  See,  e.g., Keating  v.                                                  ___   ____  _______            Secretary of Health  and Human  Services, 848  F.2d 271,  272            ________________________________________            (1st  Cir.  1988)(per  curiam); Barrientos  v.  Secretary  of                                            __________      _____________            Health  and  Human  Services,  820  F.2d  1,  2-3  (1st  Cir.            ____________________________            1987)(per curiam);  Sitar v. Schweiker, 671 F.2d  19, 21 (1st                                _____    _________            Cir. 1982)(per curiam).  In concluding that claimant suffered            only  from a  somatoform  disorder and  not  from a  physical            impairment (e.g. fibromyalgia), the ALJ credited the opinions                                         -15-            of  Drs.  Siegel and  Bloomberg, both  of whom  suggested the            diagnosis   of  somatoform  disorder,   and  the  opinion  of            claimant's  own rheumatologist,  Dr.  Gray, who  stated  that            claimant's  symptoms  were   inconsistent  with   fibrositis,            particularly noting the absence  of trigger point  tenderness            and complaints of  poor sleep.   There  was no  error in  the            ALJ's  decision not to place  more weight on  the opinions of            claimant's other health care providers.    The ALJ  correctly            observed that the disability opinion expressed  by claimant's            acupuncturist was not  entitled to the  weight that might  be            accorded a  physician since the regulations  do not recognize            acupuncturists as acceptable medical  sources.  See 20 C.F.R.                                                            ___             416.972(a)(acceptable   medical  sources   include  licensed            physicians,  osteopaths,   psychologists,  optometrists,  and            record  custodians).    To   be  sure,  the  record  arguably            supported a finding that claimant does suffer from a physical            impairment   -  fibromyalgia   -     that   does  limit   him            exertionally.   But since conflicts  in the evidence  are for            the  Secretary  to  resolve,   see,  e.g.,  Burgos  Lopez  v.                                           ___   ____   _____________            Secretary  of Health and Human Services, 747 F.2d 37, 40 (1st            _______________________________________            Cir.  1984), we  cannot second  guess the  ALJ's decision  to            credit the evidence which undermined this diagnosis.                 The  ALJ  rejected  claimant's  contention  that  he  is            prevented  from  working  because  he cannot  use  his  upper            extremities,  finding that  his complaints of  disabling pain                                         -16-            and functional loss were not credible.   An ALJ's credibility            determinations are owed "considerable deference."   Dupuis v.                                                                ______            Secretary of  Health and  Human Services,  869 F.2d  622, 623            ________________________________________            (1st  Cir. 1989).      Nevertheless,  we question  the  ALJ's            conclusion  that   claimant   suffers  from   no   exertional                                                          __            limitations.     In   the  first   place,  this   finding  is            contradicted by Dr. Wald, the SSA's consultant who found that            claimant was exertionally limited to  light work.  And  given            the  significant  number  of  physicians  who  reported  that            claimant suffered at least  some loss of function due  to his            subjective  symptoms, we question whether the ALJ as a layman            was  qualified   to  conclude   that  claimant  suffered   no            exertional  limitations  even  if   he  found  the  cause  of            claimant's  condition  to  be  a mental  impairment  (i.e,  a            somatoform  disorder)  as opposed  to a  physical impairment.            See  Walston  v.   Gardner,  381  F.2d  580,  585  (6th  Cir.            ___  _______       _______            1967)(pain may  be  disabling even  if  partly caused  by  an            emotional  problem).    As a  general  rule,  an  ALJ is  not            qualified to assess residual functional capacity on the basis            of  bare  medical findings.    See,  e.g.,  Berrios Lopez  v.                                           ___   ____   _____________            Secretary of Health and Human  Services, 951 F.2d 427, 430-31            _______________________________________            (1st Cir.  1991).   However,  the record  supports the  ALJ's            implicit  conclusion that claimant  retained the capacity for            light  work.   In  particular, we  note  that the  duties  of            claimant's past salesperson  job fall within  this exertional                                         -17-            category,  and that  "the type  of work  involved in  a sales            clerk job would not necessarily involve continual use of both            arms  and hands  for  long periods  of time  ...."   Gray  v.                                                                 ____            Heckler, 760 F.2d at 374.  The same can be said of claimant's            _______            past   job  as   a  psychiatric   aide.   Accordingly,  where            substantial  evidence  supports  the  ALJ's  conclusion  that            claimant can do at least some of his past jobs, the  judgment            of the district court is affirmed.                                          ________                                         -18-

